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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
__________________________________________
                                          )
A.F. OF L. – A.G.C. BUILDING TRADES       )
WELFARE PLAN, individually and on behalf  )
of itself and all others similarly situated,
                                          )
                                          )
                                          )                Civil Action No. 1:15-cv-04406
     Plaintiff,                           )
                                          )
v.                                        )
                                          )
ACTAVIS, PLC and FOREST                   )
LABORATORIES, LLC, MERZ                   )                NOTICE OF VOLUNTARY
PHARAMA GMBH & CO., KGAA,                 )                DISMISSAL WITHOUT
AMNEAL PHARMACEUTICALS, LLC,              )                PREJUDICE
TEVA PHARMACEUTICALS USA, INC.,           )
TEVA PHARMACEUTICAL INDUSTRIES,           )
INC., BARR PHARMACEUTICALS, INC.,         )
COBALT LABORATORIES, INC.,                )
UPSHER-SMITH LABORATORIES, INC.,          )
WORCKHARDT LIMITED, WOCKHARDT             )
USA LLC, SUN INDIA PHARMACEUTICALS )
INDUSTRIES, LTD., DR. REDDY’S             )
LABORATORIES LTD., and DR. REDDY’S        )
LABORATORIES INC.,                        )
                                          )
                                          )
    Defendants.                           )
__________________________________________)



       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff A.F. of L. – A.G.C.

Building Trades Welfare Plan hereby gives notice that the above-captioned action is voluntarily

dismissed without prejudice. The parties to bear their own costs and expenses.
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Dated: September 1, 2015
                                        By: /s/ Michael M. Buchman

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